                Case 1:15-cv-06119-AJN-JLC Document 340-3
                                                    339-3 Filed 05/12/17
                                                                05/09/17 Page 1 of 6
                                                                                   3

AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Southern District of New York

                           Steven Greer
                               Plaintiff
                              v.                                                       Civil Action No. 15-cv-6119
                       Dennis Mehiel, et al

                              Defendant

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                                         Mariners Cove Site B Associates

                                                       (Name of person to whom this subpoena is directed)

        Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: documents that identify the location and other details of the computer server used to backup emails and
          documents, which was referenced by Steve Rossi during his deposition. If a third-party company is hired for
          this function, the name of the campany should be provided.

 Place: send the documents via email to steve@batterypark.tv                            Date and Time:
        as well as regular mail to Steven Greer, 4674 Tatersall                                               05/12/2017 4:00 pm
        Court, Columbus, OH 43230

     1] Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                Date and Time:



       The following provisions ofiEed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena.and the potential consequences of not doing so.
Date:     57Y//                      iti           4:44 _
                                  CLER1 OF cOURT
                                                                                            OR
                                                    ,
                                           Signature- of Clerk-or Deputy Clerk                                        Attorney's signature

The name, address, e-mail address, and telephone number of the attorney representing (name of party)
Steven Greer                                                          , who issues or requests this subpoena, are:
 is pro se Steven Greer

                                Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 888 (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)


Civil Action No. 15-cv-6119

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)

            0 I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            0 I returned the subpoena unexecuted because:


            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of



My fees are $                                      for travel and $                             for services, for a total of $                0.00


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server's signature



                                                                                                 Printed name and title




                                                                                                    Server's address

Additional information regarding attempted service, etc.:
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                               (ii) disclosing an unretained expert's opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a               study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                    (C) Specking Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or              described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                        modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly       conditions if the serving party:
transacts business in person, if the person                                            (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party's officer; or                                     otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial              (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
  (A) production of documents, electronically stored information, or               (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is       procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                          information:
   (B) inspection of premises at the premises to be inspected.                       (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                       must organize and label them to correspond to the categories in the demand.
                                                                                     (B) Form for Producing Electronically Stored Information Not Specified
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps         information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include            person responding need not produce the same electronically stored
lost earnings and reasonable attorney's fees—on a party or attorney who           information in more than one form.
fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                     of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to           order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of      reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,        made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or           (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to            (A) Information Withheld A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.       under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for         material must:
compliance or 14 days after the subpoena is served. If an objection is made,           (i) expressly make the claim; and
the following rules apply:                                                            (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party        tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an           privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                          (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the       subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party's officer from     trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                    that received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                            information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                      information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim_ The person who
specified in Rule 45(c);                                                          produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no     resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted To protect a person subject to or affected by a               The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Southern District of New York

                           Steven Greer
                               Plaintiff
                                  V.                                                   Civil Action No. 15-cv-6119
                       Dennis Mehiel, et al

                              Defendant

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                                                                  Milford Management

                                                       (Name of person to whom this subpoena is directed)

        Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material: documents that identify the location and other details of the computer server used to backup emails and
          documents, which was referenced by Steve Rossi during his deposition. If a third-party company is hired for
          this function, the name of the campany should be provided.

 Place: send the documents via email to steve@batterypark.tv                             Date and Time:
        as well as regular mail to Steven Greer, 4674 Tatersall                                               05/12/2017 4:00 pm
        Court, Columbus, OH 43230

     17I Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                Date and Time:



       The following provisions of_Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection-as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.
Date:                                  WRY, J. kA.IICK
                                 --CLERK OF CJRT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney's signature


The name, address, e-mail addres, and telephone number of the attorney representing (name of party)
Steven Greer                                                           , who issues or requests this subpoena, are:
 is pro se Steven Greer

                                Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom
it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 8813 (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)


Civil Action No. 15-cv-6119

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name of individual and title, if any)
on (date)

            17 I served the subpoena by delivering a copy to the named person as follows:


                                                                                           on (date)                                    ; or

            0 I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of



My fees are $                                      for travel and $                              for services, for a total of $                0.00


            I declare under penalty of perjury that this information is true.


Date:
                                                                                                    Server's signature



                                                                                                  Printed name and title




                                                                                                     Server's address

Additional information regarding attempted service, etc.:
                Case 1:15-cv-06119-AJN-JLC Document 340-3
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AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                               (ii) disclosing an unretained expert's opinion or information that does
                                                                                  not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a               study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                    (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or              described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                        modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly       conditions if the serving party:
transacts business in person, if the person                                            (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party's officer; or                                     otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial              (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                  (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
  (A) production of documents, electronically stored information, or               (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is       procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                          information:
  (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                       must organize and label them to correspond to the categories in the demand.
                                                                                     (B) Form for Producing Electronically Stored Information Not Specified
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney             If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps         information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the              which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must               (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include            person responding need not produce the same electronically stored
lost earnings and reasonable attorney's fees—on a party or attorney who           information in more than one form.
fails to comply.                                                                     (D) Inaccessible Electronically Stored Information. The person
                                                                                  responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                           from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to           order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of      reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,        made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible            26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or           (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to            (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.       under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for         material must:
compliance or 14 days after the subpoena is served. If an objection is made,           (i) expressly make the claim; and
the following rules apply:                                                            (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party        tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an           privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                          (B) Information Produced If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the       subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party's officer from     trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                    that received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where          until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                      information if the party disclosed it before being notified; and may promptly
     (1) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                          produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no     resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted To protect a person subject to or affected by a               The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
